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UNITED STATES BANKRUPTCY COURT                                           CHAPTER 13

EASTERN DISTRICT OF NEW YORK                                             CASE NO.: 8-23-73858

--------------------------------------------------------X

IN RE:

Michael Aryeh


Debtor(s)

--------------------------------------------------------X

                                                  CHAPTER 13 PLAN
                                                                                       Effective 12/1/2019
   Check this box if this is an amended plan. List below the sections of the plan which have been
changed:
_________
PART 1: NOTICES
To Debtors: This form sets out options that may be appropriate in some cases, but the presence
of an option on the form does not indicate that the option is appropriate in your circumstance or
that it is permissible in your judicial district. Plans that do not comply with the local rules for the
Eastern District of New York may not be confirmable. If you do not have an attorney, you may
wish to consult one.
To Creditors: Your rights may be affected by this plan. Your claim may be reduced, modified, or
eliminated. You should read this plan carefully and discuss it with your attorney. If you do not
have an attorney, you may wish to consult one.
If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney
must file an objection to confirmation at least 7 days before the date set for the hearing on
confirmation, unless otherwise ordered by the Bankruptcy Court. The Bankruptcy Court may
confirm this plan without further notice if no objection to confirmation is filed. See Bankruptcy Rule
3015. In addition, you may need to file a timely proof of claim in order to be paid under any plan.
1.1: The following matters may be of particular importance. Debtors must check one box on each
line to state whether or not the plan includes each of the following items. If an item is checked as
“Not Included” or if both or neither boxes are checked, the provision will be ineffective if set out
later in the plan.

   A limit on the amount of a secured claim, set out in Section 3.4, which
a. may result in a partial payment or no payment at all to the secured                []              Not
   creditor                                                                           Included    included

     Avoidance of a judicial lien or nonpossessory, non-purchase-money                []              Not
b.
     security interest, set out in Section 3.6                                        Included    included

                                                                                                      Not
c. Nonstandard provisions, set out in Part 9                                        [] Included
                                                                                                  Included

1.2: The following matters are for informational purposes:

     The debtor(s) is seeking to modify a mortgage secured by the                                     Not
a.                                                                                  [] Included
     debtor(s)’s principal residence, set out in Section 3.3                                      Included

     Unsecured Creditors, set out in Part 5, will receive 100% distribution of                    [] Not
b.
     their timely filed claim                                                         Included    included


PART 2: PLAN PAYMENTS AND LENGTH OF PLAN
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2.1 The post-petition earnings of the debtor(s) are submitted to the supervision and control of the
Trustee and the Debtor(s) shall pay to the Trustee for a period of 60 months as follows:
$420.84 per month commencing 12/17/2023 through and ending 11/17/2028 for a period
of 60 months; and
$___ per month commencing ___ through and ending ____ for a period of ____ months.

   Continued on attached separate page(s )
2.2: Income tax refunds.
If general unsecured creditors are paid less than 100%, as provided in Part 5 of this plan, then
during the pendency of this case, the Debtor(s) will provide the Trustee with signed copies of filed
federal and state tax returns for each year commencing with the tax year, _______ no later than
April 15th of the year following the tax period. In addition to the regular monthly plan payments,
indicated tax refunds are to be paid in full to the Trustee upon receipt, however, no later than June
15th of the year in which the tax returns are filed.
2.3: Additional Payments.
Check one.
[X] None. If “None” is checked, the rest of §2.3 need not be completed.
[ ] Debtor(s) will make additional payment(s) to the Trustee from other sources, as specified
below. Describe the source, estimated amount, and date of each anticipated
payment. __________

PART 3: TREATMENT OF SECURED CLAIMS
3.1: Maintenance of payments (including the debtor(s)’s principal residence).
Check one.
  None. If “None” is checked, the rest of §3.1 need not be completed.
[ ] Debtor(s) will maintain the current contractual installment payments on the secured claims
listed below, with any changes required by the applicable contract and noticed in conformity with
any applicable rules. These payments will be disbursed directly by the debtor(s).
                                 Principal
Name of    Last 4 Digits of                             Description of Current Installment Payment
                                 Residence (Check
Creditor   Account Number                               Collateral     (Including Escrow)
                                 box)
None

3.2: Cure of default (including the debtor(s)’s principal residence).
Check one.
  None. If “None” is checked, the rest of §3.2 need not be completed.
[] Any existing arrearage on a listed claim will be paid in full through disbursements by the trustee,
with interest, if any, at the rate stated below. Unless otherwise ordered by the court, the amounts
listed on a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control
over any contrary amounts listed below. In the absence of a contrary timely filed proof of claim,
the amounts listed below are controlling.
Name of     Last 4 Digits of        Principal Residence     Description of    Amount of      Interest
Creditor    Account Number          (Check box)             Collateral        Arrearage      Rate
None

3.3: Modification of a mortgage secured by the debtor(s)’s principal residence.
Check one.
        The debtor(s) is not seeking to modify a mortgage secured by a property of the debtor(s).
   [ ] The debtor(s) is seeking to modify a mortgage secured by the debtor(s)’s principal
   residence and shall serve and file a Loss Mitigation Request under the Court’s Loss
   Mitigation Program pursuant to General Order #676. Complete the paragraph below.

The mortgage due to _______ (creditor name) on the property known as _______ (property
address) under account number ending x_______ (last four digits of account number) is in
default. All arrears, including all past due payments, late charges, escrow deficiency, legal fees
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and other expenses due to the mortgagee totaling $_______ (total amount of arrearage), may be
capitalized pursuant to a loan modification. The new principal balance, including capitalized
arrears will be $_______ (current total balance), and will be paid at _______% interest amortized
over years with an estimated monthly payment of $_______ (total proposed monthly modified
payment) including interest and escrow of $_______ (escrow portion of monthly payment). The
estimated monthly payment, including proposed principal, interest, and escrow, shall be paid
directly to the trustee while loss mitigation is pending and until such time as the debtor(s) has
commenced payment under a trial loan modification. Contemporaneous with the commencement
of a trial loan modification, the debtor(s) will amend the Chapter 13 Plan and Schedule J to reflect
the terms of the trial agreement, including the direct payment to the secured creditor going
forward by the debtor(s).
        Continue on attached separate page(s)
   The debtor(s) is seeking to modify a mortgage outside of the Court’s Loss Mitigation Program
and shall file a status letter on loss mitigation efforts seven (7) days prior to each scheduled
Hearing on Confirmation. Complete the paragraph above.
    The debtor(s) has been offered and accepted a trial loan modification. Complete the
paragraph below. The mortgage due to _______ (creditor name) on the property known
as _______ (property address) under account number ending x _______ (last four digits of
account number) is in default as of this date. The Debtor(s) has accepted a trial loan modification.
Monthly payments under the trial period plan, in theamount stated in Section 3.1 above, shall be
paid directly to the secured creditor commencing on , _______,
and shall continue until a permanent modification agreement is authorized by the Court. Upon
such Court authorization, except as otherwise expressly provided by Court Order, the Trustee is
directed to cease any further disbursements on account of arrearage due on the claim of
_______. The proof of claim affected by this paragraph is reflected on the Court’s Claims Register
as Claim # _______, originally filed for the benefit of _______ on , _______, in the total amount
of $_______. After Court authorization of the permanent modification agreement, if all other
requirements for confirmation are satisfied, this plan may be confirmed without further
amendment incorporating the order only if this plan is timely served upon the secured creditor on
the address for notices indicated on the proof of claim.
    [ ] Continue on attached separate page(s)
3.4: Request for valuation of security, payment of fully secured claims, and modification of under-
secured claims.
Check one.
  None. If “None” is checked, the rest of §3.4 need not be completed.
The remainder of this paragraph is only effective if the applicable box in Part 1 of this plan is
checked.
[ ] The debtor(s) shall file a motion to determine the value of the secured claims listed below.
Such claim shall be paid pursuant to order of the court upon determination of such motion. This
paragraph shall not modify liens underlying any secured claims under non-bankruptcy law absent
an order determining such motion, and until either completion of payments under the plan or entry
of discharge of the debtor(s), as determined by the Court.
Name Last 4 Digits       Description            Total    Estimated Amount Estimated Amount
                                     Value of
of       of Account      of                     Amount of Creditor’s      of Creditor’s
                                     Collateral
Creditor Number          Collateral             of Claim Secured Claim    Unsecured Claim
None

3.5: Secured claims on personal property excluded from 11 U.S.C. §506.
Check one.
  None. If “None” is checked, the rest of §3.5 need not be completed.
[ ] The claims listed below were either:
    Incurred within 910 days before the petition date and secured by a purchase money security
    interest in a motor vehicle acquired for the personal use of the debtor(s); or
    incurred within 1 year of the petition date and secured by a purchase money security interest
    in any other thing of value.
These claims will be paid pursuant to §3.1 and/or §3.2. (The claims must be referenced in those
sections as well.) Unless otherwise ordered by the court, the claim amount stated on a proof of
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claim filed before the filing deadline under Bankruptcy Rule 3002(c) controls over any contrary
amount listed below. In the absence of a contrary timely filed proof of claim, the amounts stated
below are controlling.
Name of Creditor Last 4 Digits of Account Number         Collateral Amount of Claim      Interest Rate
None

3.6: Lien Avoidance.
Check one.
  None. If “None” is checked, the rest of §3.6 need not be completed.
The remainder of this paragraph is only effective if the applicable box in Part 1 of this plan is
checked.
[ ] The debtor(s) shall file a motion to avoid the following judicial liens or nonpossessory, non-
purchase money security interests as the claims listed below impair exemptions to which the
debtor(s) are entitled under 11 U.S.C. §522(b) or applicable state law. See 11 U.S.C. §522(f) and
Bankruptcy Rule 4003(d). Such claim shall be paid pursuant to order of the court upon
determination of such motion.
                                                                           Estimated
Name Attorney                    Description Estimated    Interest Rate of
                  Lien                                                     Amount of
of       for                     of          Amount of    Secured Portion,
                  Identification                                           Unsecured
Creditor Creditor                Collateral Secured Claim if any
                                                                           Claim
None

3.7: Surrender of Collateral.
Check one.
  None. If “None” is checked, the rest of §3.7 need not be completed.
[ ] The debtor(s) elect to surrender to each creditor listed below the collateral that secures the
creditor’s claim. The debtor(s) request that upon confirmation of this plan the stay under 11
U.S.C. §362(a) be terminated as to the collateral only and that the stay under 11 U.S.C. §1301 be
terminated. Any timely filed allowed unsecured claim resulting from the disposition of the
collateral will be treated in Part 5 below.
Name of Creditor        Last 4 Digits of Account Number               Description of Collateral
None


PART 4: TREATMENT OF FEES AND PRIORITY CLAIMS
4.1: General.
Trustee’s fees and all allowed priority claims, including domestic support obligations other than
those treated in §4.5, will be paid in full without post-petition interest.
4.2: Trustee’s fees.
Trustee’s fees are governed by statute and may change during the course of the case.
4.2: Attorney’s fees.
The balance of the fees owed to the attorney for the debtor(s) is $0.00.
4.3: Priority claims other than attorney’s fees and those treated in §4.5.
Check one.
[ ] None. If “None” is checked, the rest of §4.4 need not be completed.
    The debtor(s) intend to pay the following priority claims through the plan:
Name of Creditor                                   Estimated Claim Amount
551 Albany Avenue LLC                              $20,000.00

4.4: Domestic Support Obligations.
Check one.
    None. If “None” is checked, the rest of §4.5 need not be completed.
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[ ] The debtor(s) has a domestic support obligation and is current with this obligation. Complete
table below; do not fill in arrears amount.
[ ] The debtor(s) has a domestic support obligation that is not current and will be paying arrears
through the Plan. Complete table below.
Name of               Date of         Name of          Monthly DSO              Amount of Arrearages to be Paid
Recipient             Order           Court            Payment                  through Plan, if any
None


PART 5: TREATMENT OF NONPRIORITY CLAIMS
Allowed nonpriority unsecured claims will be paid pro rata:
[ ] Not less the sum of $0.00.
[X] Not less than 100.00% of the total amount of these claims.
[ ] From the funds remaining after disbursement have been made to all other creditors provided
for in this plan.
If more than one option is checked, the option providing the largest payment will be effective.

PART 6: EXECUTORY CONTRACTS AND UNEXPIRED LEASES
6.1: The executory contracts and unexpired leases listed below are assumed and will be treated
as specified. All other executory contracts and unexpired leases are rejected.
Check one.
[ ] None. If “None” is checked, the rest of §6.1 need not be completed.
    Assumed items. Current installment payments will be paid directly by the debtor(s) as
specified below, subject to any contrary court order or rule. Arrearage payments will be disbursed
by the trustee.
Name of         Description of Leased Property                  Current Installment                Amount of Arrearages to
Creditor        or Executory Contract                           Payment by Debtor                  be paid by Trustee
BMW
                2022 BMW M850                                   $1499                              $0.00
Financial


PART 7: VESTING OF PROPERTY OF THE ESTATE
Unless otherwise provided in the Order of Confirmation, property of the estate will vest in the
debtor(s) upon completion of the plan.

PART 8: POST-PETITION OBLIGATIONS
8.1:Post-petition mortgage payments, vehicle payments,real estate taxes, and domestic support obligations are to be made directly by the
debtor(s) unless otherwise provided for in the plan.

 8.2: Throughout the term of this Plan, the debtor(s) agree that the debtor(s) will not incur post-
petition debt over $2,500.00 without written consent of the Trustee or by order of the Court.

PART 9: NONSTANDARD PLAN PROVISIONS
9.1 Check “None” or list nonstandard plan provisions.
[X] None. If “None” is checked, the rest of §9.1 need not be completed.
Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard
provision is a provision not otherwise included in the form plan or deviating from it. Nonstandard
provisions set out elsewhere in this plan are ineffective.
The following plan provisions will be effective only if there is a check in the box “included” in
§1.1(c).
_____________________

PART 10: CERTIFICATION AND SIGNATURE(S):
10.1: I/we do hereby certify that this plan does not contain any nonstandard provisions other than
those set out in the final paragraph.
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/s/ Michael Aryeh
Signature of Debtor 1                                    Signature of Debtor 2

Dated: 01/04/2024                                        Dated: 01/04/2024

/s/ Erica Yitzhak
Signature of Attorney for Debtor(s)

Dated: 01/04/2024
